

Banco Indusval S.A. v Goncalves (2021 NY Slip Op 02058)





Banco Indusval S.A. v Goncalves


2021 NY Slip Op 02058


Decided on April 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 01, 2021

Before: Manzanet-Daniels, J.P., Kern, González, Shulman, JJ. 


Index No. 654109/15 Appeal No. 13496-13496A Case No. 2019-05122 

[*1]Banco Indusval S.A., Plaintiff-Appellant,
vAntonio Carlos Goncalves Jr., Defendant-Respondent.


Cleary Gottlieb Steen &amp; Hamilton LLP, New York (Howard S. Zelbo of counsel), for appellant.
McLaughlin &amp; Stern LLP, New York (Paul H. Levinson of counsel), for respondent.



Orders, Supreme Court, New York County (Lynn R. Kotler, J.), entered October 9, 2019, and May 6, 2020, which, respectively, denied plaintiff's motion for summary judgment and, upon reargument, adhered to that determination (see CPLR 5517[b]), unanimously affirmed, with costs.
Plaintiff failed to establish that the alleged Brazilian money judgment of which it seeks recognition and enforcement pursuant to CPLR article 53 "grants or denies the recovery of a sum of money" (CPLR 5303). With respect to the documents on which plaintiff relies, the motion court correctly observed, "This court is not required to step into the shoes of the Brazilian court to determine/compute the amount owed by defendant in order to issue a money judgment" (see CIBC Mellon Trust Co. v Mora Hotel Corp ., 100 NY2d 215, 222 [2003] [judgment creditor "merely asks the court to perform its ministerial function of recognizing the foreign country money judgment and converting it into a New York judgment"] [internal quotation marks omitted], cert denied  540 US 948 [2003]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 1, 2021








